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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

 

 

 

 

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IT IS SO ORDERED.

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DANIEL R. DOMINGUEZ
U.S. DISTRICT JUDGE

 

